              Case: 24-10266    Document: 11-1 Page: 1 Date Filed: 03/30/2024
           Case 4:24-cv-00213-P Document 69 Filed 04/02/24 Page 1 of 1 PageID 532
     FILED
    April 2, 2024
  KAREN MITCHELL       United States Court of Appeals
CLERK, U.S. DISTRICT
      COURT                 for the Fifth Circuit                           United States Court of Appeals
                                                                                     Fifth Circuit

                                           ___________                             FILED
                                                                              March 30, 2024
                                            No. 24-10266                      Lyle W. Cayce
                                           ___________                             Clerk

              In re Fort Worth Chamber of Commerce; Longview
              Chamber of Commerce; American Bankers Association;
              Consumer Bankers Association; Texas Association of
              Business; Chamber of Commerce for the United States
              of America,

                                                                              Petitioners.
                             ______________________________

                                 Petition for a Writ of Mandamus
                                to the United States District Court
                                for the Northern District of Texas
                                     USDC No. 4:24-CV-213
                             ______________________________

                                    UNPUBLISHED ORDER

              Before Stewart, Graves, and Oldham, Circuit Judges.
              Per Curiam:
                    IT IS ORDERED that the petition for writ of mandamus is
              expedited to the next oral argument panel to be heard with our case No. 24-
              10248, Chamber of Commerce v. CFPB.
